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                       SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (“Agreement”) is entered into by, between and
among (a) Joseph Hardesty, Madeline Hickey, and Derek Chipman (“Representative Plaintiffs”)
individually and on behalf of all collective class members as defined herein and (b) The Kroger Co.
and Kroger G.O. LLC, along with their affiliates and subsidiaries (together, “Kroger” or
“Defendants” as defined herein). Collectively, Representative Plaintiffs and Defendants shall be
referred to as the “Parties.”

        WHEREAS, the Representative Plaintiffs filed a lawsuit in the United States District Court
for the Southern District of Ohio, titled Joseph Hardesty, et al. v. Kroger Co., et al., Case No.
1:16-CV-298 (“Action”), alleging that Defendants violated the Fair Labor Standards Act (FLSA)
and applicable state law by misclassifying them as overtime exempt and, as a result, failing to pay
Representative Plaintiffs and other similarly situated employees overtime pay for hours worked
over 40 in a workweek.

        WHEREAS, the Court granted Representative Plaintiffs’ Motion for Conditional
Certification and conditionally certified the following collective class on July 19, 2016: “All
employees classified as Recruiters, who were employed at Kroger’s Center of Recruiting
Excellence (“CoRE”) in Blue Ash, Ohio, at any time from the beginning of CoRE’s operations in
October 2014 to the present who worked in excess of forty (40) hours during any given
workweek.” Notice was subsequently issued to the potential opt-in plaintiffs. Twenty-seven (27)
opt-in plaintiffs (“Opt-In Plaintiffs”), including the Representative Plaintiffs, joined this case.
Representative Plaintiffs and Opt-In Plaintiffs will be referred to collectively as “Plaintiffs”.

         WHEREAS, Defendants have denied and continue to deny that they violated any federal
or state laws, breached any duty, failed to pay any employees as required by the FLSA or any state
law, engaged in any other unlawful conduct with respect to any of its employees, including, but
not limited to, the allegations that Representative Plaintiffs raised, or could have raised, in the
Action;

        WHEREAS, a bona fide dispute exists between the Plaintiffs and Defendants as to the
amount, if any, of overtime compensation owed to the Representative Plaintiffs and Opt-In
Plaintiffs;

       WHEREAS, the Parties engaged in settlement negotiations that eventually led to a
settlement. The terms of the settlement agreement are reflected in this Agreement and, subject to
Court approval, will fully and finally settle, resolve, and dismiss with prejudice this dispute and
the Action.

        WHEREAS, with this settlement, the Parties desire to avoid incurring further burdens,
expenses, and costs of the Action and seek to resolve, in an amicable fashion, all matters arising
out of, or related to, the Action and any claims that could have been raised by the Representative
Plaintiffs in the Action; and

        WHEREAS, Representative Plaintiffs have consulted with Counsel, have analyzed and
evaluated the merits of the claims made against Defendants and the impact of this Agreement on
Plaintiffs, and, recognizing the significant risks of continued litigation, including the possibility
that Plaintiffs otherwise may not recover anything or may recover an amount less than provided
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for in this Agreement, Representative Plaintiffs’ have concluded that the terms and conditions of
this Agreement are reasonable and fair and the Agreement is in Plaintiffs’ best interest.

        NOW THEREFORE, in consideration of the mutual covenants and promises set forth in
the Agreement, as well as the good and valuable consideration provided for herein, the Parties
agree to a full and complete settlement of the Action on the following terms and conditions:

       1.      DEFINITIONS

               1.1.    Action. Action means the above-captioned case.

               1.2.    Agreement. Agreement means this Settlement Agreement and Release.

              1.3.    Approval Motion. Approval Motion means the motion filed by the Parties
seeking approval of the Settlement from the Court.

               1.4.   Approval Order. Approval Order means the Order entered by the Court
that approves the Settlement, directing the manner and timing of providing Collective Action
Notices and Settlement Checks to the Plaintiffs, the distribution of the Settlement Fund, and that
dismisses the Action.

              1.5.   Collective Action Notice. Collective Action Notice means the Court-
approved Notice of Settlement of Collective Action Lawsuit attached hereto as Exhibit A.

               1.6.   Court. Court means the United States District Court for the Southern
District of Ohio, Western Division.

               1.7.    Defendants’ Counsel. Defendants’ Counsel means Jackson Lewis P.C.

               1.8.    Net Settlement Fund. Net Settlement Fund means the Settlement Fund to
be paid by Defendants pursuant to this Agreement less deductions for: (1) Court-approved attorney
fees and costs for Plaintiffs’ Counsel; and (2) the Court-approved Service Award to the
Representative Plaintiffs.

             1.9.     Plaintiff(s). Plaintiffs are the Representative Plaintiffs and all individuals
who consented to join the Action as party-plaintiffs. The Plaintiffs are identified in Exhibit B.

              1.10. Plaintiffs’ Counsel. Plaintiffs’ Counsel means Stagnaro, Saba &
Patterson Co, LPA.

             1.11. Relevant Period. Relevant Period refers to the period between October 31,
2014 and December 1, 2016.

             1.12. Representative Plaintiffs. Representative Plaintiffs means Joseph
Hardesty, Madeline Hickey, and Derek Chipman.

               1.13. Service Award. Service Award means a special payment made to
Representative Plaintiffs to compensate them for initiating the Action, performing work in support
of, or otherwise participating in, the Action, undertaking the risk of liability for attorney fees and
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expenses in the event Representative Plaintiffs were unsuccessful in the prosecution of the Action,
and/or providing a general release to the Released Parties as described in Section 4.2.2. below.

               1.14. Settlement. Settlement means the disposition of the Action and all related
claims effectuated by, and in accordance with the terms of, this Agreement.

               1.15. Settlement Fund. Settlement Fund means the amount of settlement money
to be paid by Defendants to the Representative Plaintiffs, Plaintiffs, and Plaintiffs’ Counsel. It
does not include Defendants’ share of its payroll taxes.

              1.16. Settlement Checks. Settlement Checks mean the checks generated and
mailed out by Defendants to pay the Settlement Shares.

              1.17. Settlement Share. Settlement Share means each Plaintiff’s share of the Net
Settlement Fund as provided for in this Agreement.

       2.      INITIAL PROCEDURAL ISSUES

                2.1.   Binding Agreement. This Agreement is a binding agreement and contains
all materially agreed-upon terms for the Parties to seek a full and final settlement of the Action.

                2.2.   Jurisdiction. This Action is brought and is before the Court under the
FLSA, 29 U.S.C. § 201 et seq. The Parties agree that the Court has jurisdiction over each and all
of the claims in the Action.

       3.      MOTION FOR APPROVAL OF SETTLEMENT

                3.1.   As soon as practicable following execution of this Agreement, the Parties
shall submit to the Court a Joint Motion for Approval of Settlement (Approval Motion) which shall
include a proposed order (the Approval Order) (1) approving the Settlement as fair, adequate, and
reasonable; (2) approving the Service Award; (3) approving Plaintiffs’ attorney fees and costs
award; and (4) dismissing the Action with prejudice.

                3.2.   If the Court does not approve the Settlement for any reason, the Parties shall
act in good faith to address the Court’s concerns, and resubmit a revised agreement, to the extent
possible. If the Court does not approve a revised agreement, including this Agreement and any
amendments to the same, the Agreement shall be terminated as of the date of the Court’s Order
denying the same. Upon termination of this Agreement or any revised agreement, the Action will
resume as if no settlement had been reached.

       4.      SETTLEMENT TERMS

               4.1.     Settlement Fund. Defendant agrees to pay the total sum of
                                                              (the “Settlement Fund”), which, upon
execution of the Approval Order, shall fully resolve and satisfy and encompass (1) all Settlement
Shares to Plaintiffs; (2) the Service Award; (3) Plaintiffs’ Counsel’s attorney fees and expenses
incurred to date, securing trial court approval of the Settlement, and attending to the administration
of the Settlement, and obtaining dismissal of the Action. Defendants’ share of payroll taxes is not
included in the Settlement Fund.
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               4.2.   Distribution of Settlement Fund. The Parties agree, subject to Court
approval, the Settlement Fund will be distributed by Defendants as follows:

                        4.2.1. Attorney Fees and Litigation Costs. Through the Approval Motion,
Plaintiffs will petition the Court for an award of attorney fees of                        and costs of
            . Defendants’ Counsel shall not oppose the petition for the award of attorneys fees and
costs and shall reasonably cooperate with Plaintiff and Plaintiffs’ Counsel to the extent necessary
to obtain the Court’s approval of the petition. Following the approval of the petition, Defendants
shall have no additional liability for Plaintiffs’ attorney fees, expenses, and costs beyond the
amounts defined in this paragraph. Plaintiffs’ Counsel will receive an IRS Form 1099 with respect
to its awarded attorney fees, expenses, and costs. If attorney fees or costs are not initially approved
in the full amount provided for in this paragraph, the Parties will jointly attempt to address the
Court’s concerns, and submit a revised petition, as applicable. Defendants’ shall not oppose any
revised petition proposed by Plaintiffs for the award of attorneys fees and costs, so long as such
petition is not in excess of               (with respect to fees) and                  (with respect to
costs), and shall reasonably cooperate with Plaintiffs and Plaintiffs’ Counsel to the extent
necessary to obtain the Court’s approval of any revised petition. In the event such efforts are
unsuccessful and all appeal rights are exhausted, any amount not approved will become a part of
the Net Settlement Fund and distributed in accordance with the terms of this Settlement
Agreement. Defendants will mail a check to Plaintiffs’ Counsel for its attorney fees and costs
within 30 days of the Court’s entry of the Approval Order.

                       4.2.2. Service Award to Representative Plaintiffs. Defendants will not
oppose a Service Award of               to be paid out of the Settlement Fund to each Representative
Plaintiff. This Service Award will be paid in addition to Representative Plaintiffs’ Settlement
Share, if the Representative Plaintiffs sign a general release described in Section 6.2 below. Only
Representative Plaintiffs are entitled to receive a Service Award under this Agreement. Defendants
will mail the Service Award to Representative Plaintiffs within 30 days of the Court’s entry of the
Approval Order.

                        4.2.3. Settlement Shares to Plaintiffs. The allocation of Settlement Shares
will be made from the Net Settlement Fund and paid only to Plaintiffs. The Net Settlement Fund
will be allocated among Plaintiffs on a pro rata basis based on number of work weeks each Plaintiff
was employed as a CORE Recruiter and estimated hours worked over 40 during the Relevant
Period, as calculated on the attached Exhibit C. If any Plaintiff did not work a workweek during
this period, they will be treated as though they worked one workweek during that period.

                4.3.    Tax Characterization. One half of the Settlement Share paid to each
Plaintiff will be reported on IRS Forms W-2 and will be net of applicable tax deductions and
withholdings in accordance with applicable IRS, state and local rules, guidance and formulas
including payroll taxes applicable to such payments. The second half of the Settlement Share paid
to each Plaintiff, and the Service Award paid to Representative Plaintiff, will be reported on IRS
Forms 1099. Plaintiffs acknowledge and agree that the monies paid by Kroger pursuant to the
terms of this Agreement (including, without limitation, the entirety of Settlement Shares as well
as Service Awards), may be taxable to Plaintiffs by the federal government, as well as state and
local governmental entities. Plaintiffs further acknowledge, understand and agree that Kroger
makes no representations regarding the nature or extent of taxability of any monies paid and that,
apart from the portions of Settlement Shares paid net of applicable tax deductions and withholdings
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per the terms of the Agreement, Plaintiffs and Plaintiffs alone are responsible for the payment of
taxes to any federal, state or local governmental entity arising from any payment under this
Agreement and agree to indemnify Kroger for any tax liability on the amounts paid pursuant to the
terms of this Agreement, excluding any amounts withheld by Kroger from the Settlement Fund for
the payment of payroll taxes .

                4.4.    Unclaimed or Uncashed Settlement Checks and Service Awards. Any
Settlement Check or Service Award that remains unclaimed or uncashed after 120 days of issuance
to a Plaintiff will be deemed null and void and will revert back to Defendants. Defendants shall
notify Plaintiffs’ Counsel with reasonable promptness of any checks which are returned as
undeliverable. On or before the 60th day following issuance, Defendants shall notify Plaintiff’s
counsel of any Settlement Check or Service Award which remains unclaimed. Upon appropriate
and timely written notice of any Settlement Check or Service Award which a Plaintiff did not
receive, Defendants agree to re-issue such payment following appropriate and timely confirmation
of a correct address of the applicable Plaintiff, less any check cancellation fee actually incurred by
Defendant in order to stop payment on the initially issued check.

       5.      COLLECTIVE ACTION NOTICES AND PROCEDURES

               5.1.    Within 14 days following the Court’s entry of the Approval Order, Plaintiffs’
Counsel shall provide Defendants’ Counsel with a list of all Plaintiffs and their last known
addresses. Plaintiffs and Defendants will mutually calculate and agree upon the Settlement Shares
as described herein.

                5.2.   Within 30 days of the Court’s entry of the Approval Order, Defendants will
mail the Collective Action Notice in the form attached as Exhibit A approved by the Court (or in
any other form as the Court may approve) to the Plaintiffs by First Class Mail. Defendants will
include each Plaintiff’s Settlement Check with the Collective Action Notice. Defendants will
notify Plaintiffs’ Counsel of any Collective Action Notice sent to a Plaintiff that is returned as
undeliverable. Upon receiving appropriate and timely written notice of an updated address from
Plaintiffs’ Counsel, Defendants will re-issue the Collective Action Notice and Settlement Check
to the provided address.

       6.      RELEASE OF CLAIMS

                 6.1. Plaintiffs. By operation of participating in the Settlement, each Plaintiff
forever and fully releases The Kroger Co. and Kroger G.O. LLC, and their present and former
owners, partners, stockholders, predecessors, successors, assigns, agents, directors, officers,
employees, representatives, attorneys, parents, divisions, subsidiaries, affiliates, benefits plans,
plan fiduciaries, and/or administrators, and all persons acting by, through, under or in concert
with any of them, including any party that was or could have been named as a defendant in the
Action (collectively, the Released Parties), from all claims that are based upon, or arise out of the
facts, acts, transactions, occurrences, events, or omissions alleged in the Action, including, but
not limited to, wage and hour claims, rights, demands, liabilities and causes of action that were
asserted or could have been asserted in the Action, under federal, state, local, or other applicable
wage and hour laws by and on behalf of the collective class in the Action (the Released Claims),
through the date of the Approval Order. The Released Claims include all claims under any federal,
state, and/or local wage and hour laws, including, without limitation, the FLSA, the Ohio
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Minimum Fair Wage Standards Act, and the Ohio Prompt Pay Act, whether known or unknown,
asserted or unasserted, of any kind whatsoever for unpaid overtime or minimum wages, unpaid
costs, penalties, liquidated damages, punitive damages, and for all attorney fees and
costs/expenses associated with Plaintiffs’ Counsel’s representation of Plaintiffs. This release does
not include separate FLSA collective action claims in Schell et al. v. The Kroger Company, Case
No. 1:21-cv-00103, for which one or more Plaintiffs is or may be a class member.

                6.2.    Receipt of Service Award by Representative Plaintiffs. In addition to the
claims released by the Representative Plaintiffs pursuant to Paragraph 6.1 and effective upon entry
of the Approval Order, the Representative Plaintiffs who receive a Service Award also release and
discharge the Released Parties from all claims asserted, or claims, rights, demands, liabilities, and
causes of action that have been or could have been asserted, under all federal, state, and/or local
laws (Service Award Released Claims). The Service Award Released Claims include any and all
claims arising under federal, state, and/or local law, including, but not limited to, all wage and hour
laws, antidiscrimination laws, and employee benefit laws. The Service Award Released Claims
include, but are not limited to, all claims arising under the Age Discrimination in Employment
Act, Title VII of the Civil Rights Act, the Americans with Disabilities Act, the Civil Rights Act of
1991, the Federal Family Medical Leave Act, the Equal Pay Act, and the statutes and regulations
of any state relating to the foregoing, whether known or unknown, asserted or unasserted, of any
kind whatsoever, arising at any point prior to entry of the Approval Order, including without
limitation, claims for wages, damages, unpaid costs, penalties, liquidated damages, punitive
damages, interest for unpaid regular or overtime wages, any related wage and hour claims, interest
on such claims, and attorney’s fees and costs related to any Service Award Released Claims,
whether at common law, pursuant to statute, ordinance, or regulation, in equity or otherwise, from
the beginning of time through the date of the Approval Order. The Service Award Released Claims
do not include workers’ compensation claims, whether known or unknown.

                6.3.    Plaintiffs’ Counsel.

                 Plaintiffs’ Counsel, on behalf of Plaintiffs, acknowledge, understand and agree that any
attorney fee and costs/expenses payments approved by the Court will be the full, final and complete
payment of all attorney fees and costs/expenses associated with Plaintiffs’ Counsel’s representation of
Plaintiffs and with the litigation and resolution of the Action..

        7.      VOIDING THE AGREEMENT

               If the Court does not issue an Approval Order, then this Settlement will become
null and void, provided that the failure by the Court or an appellate court to award or sustain the
full amount of any Service Award or Plaintiffs’ Counsel’s attorney fees and expenses when such
award is not subject to Plaintiffs’ objection or appeal, will not constitute a failure to approve the
Settlement or a material modification of the Settlement.

        8.      CONFIDENTIALITY

               Representative Plaintiffs will keep the negotiations leading up to this Agreement,
the Settlement Fund and the sum of individual Plaintiffs’ Settlement Shares, the amount of attorney
fees and costs paid, and the fact of the Settlement itself (together, Confidential Settlement Issues)
confidential and they hereafter will not disclose Confidential Settlement Issues to any person or
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persons. Notwithstanding the foregoing, Representative Plaintiffs may disclose Confidential
Settlement Issues to their attorneys, clients, co-Plaintiffs, accountants, and immediate families; to
the Court and Court personnel, and in any public Court filings as necessary to seek Court approval
of this Settlement, except as outlined in this Paragraph of the Agreement, and otherwise as required
by court or governmental order, subpoena, or as otherwise required by law. If required by court or
governmental order, subpoena, or otherwise as required by law to disclose Confidential Settlement
Issues, Representative Plaintiffs will notify Defendants’ Counsel prior to making any such
disclosure and permit Defendants a reasonable time to object to such disclosure. Representative
Plaintiffs shall not, either directly or by and through counsel or any third party, make any public
statement or press release concerning Confidential Settlement Issues other than as necessary to seek
approval of, or carry out the terms of, this Settlement. If Representative Plaintiffs violate this
paragraph, Defendants shall be entitled to any and all remedies available in law or in equity.

                The Parties agree that they will take any actions necessary and will reasonably
cooperate to the extent necessary to petition the Court to keep the financial terms of this Agreement
confidential, including but not limited to redacting such information in Court filings or filing such
information under seal. The Parties acknowledge, however, that the Court will make the final
determination regarding the Parties’ ability to keep the financial terms of the settlement confidential
and that such determination will not affect the overall enforceability of this Agreement.

       9.      WAIVER OF APPEALS

             Defendants and Representative Plaintiffs waive all appeals from the Court’s
Approval Order of the Settlement unless the Court materially modifies the Settlement.

       10.     AUTHORITY TO ACT FOR PLAINTIFFS

                 Plaintiffs’ Counsel represents and warrants, to the best of their knowledge that, as
of the date of this Agreement; i) none of the Plaintiffs have terminated Plaintiff’s Counsel’s
representation of the various Plaintiffs; and ii) as a result, Plaintiff’s Counsel continues to have
full authority to enter into this Agreement on behalf of Plaintiffs and to bind them to all of its terms
and conditions.

       11.     FAIR, ADEQUATE, AND REASONABLE SETTLEMENT

                The Parties agree that the Settlement is fair, adequate, and reasonable and will so
represent to the Court.

       12.     MODIFICATION OF AGREEMENT

               This Agreement may not be modified or canceled in any manner except by a writing
signed by Plaintiffs’ Counsel and an authorized representative of Defendant.

       13.     SEVERABILITY

               If any provision of this Agreement is found to be unenforceable, all other provisions
will remain fully enforceable.

       14.     APPLICABLE LAW
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                This Agreement shall be governed by Ohio law, without regard to its principles of
conflicts of laws.

       15.     HEADINGS

               Section headings in this Agreement are included for convenience of reference only
and shall not be a part of this Agreement for any other purpose.

       16.     INTEGRATED AGREEMENT

               This Agreement contains the entire agreement between the Parties relating to the
resolution of the Action, and all prior or contemporaneous agreements, understandings,
representations, and statements relating to the Action or to the claims and allegations in the Action,
whether oral or written and whether by a party or such party’s legal counsel, are merged in this
Settlement. For the avoidance of doubt, this Agreement does not vitiate or modify any Plaintiff’s
obligation under any other written agreement between such individual and Defendants or any of
its former or present parents, subsidiaries, and affiliated entities that was not executed in
connection with this Action, such as any non-disclosure agreement, separation agreement, or any
other release agreement between the individual and any Defendant or any of its former or present
parents, subsidiaries, and affiliated entities, or any other agreement that such individual may have
signed in connection with his or her assignment or engagement to provide services to any
Defendant or any of its former or present parent, subsidiary, and affiliated entities or the
termination of such assignment or engagement. No rights under this Settlement may be waived
except in writing.

       17.     NO PRIOR ASSIGNMENTS

                The Parties represent and warrant that they have not directly or indirectly, assigned,
transferred, encumbered, or purported to assign, transfer, or encumber to any person or entity any
portion of any liability, claim, demand, action, cause of action, or right released and discharged in
this Agreement.

       18.     BINDING ON SUCCESSORS

                This Agreement shall be binding upon and inure to the benefit of the Parties and
their respective heirs, trustees, executors, administrators, successors, and assigns.

     19.  NO ADMISSION                  OF     LIABILITY        OR     COLLECTIVE          ACTION
CERTIFICATION

               Defendants deny that they have engaged in any unlawful activity, have failed to
comply with the law in any respect, have any liability to anyone under the claims asserted in the
Action, or that, but for the Settlement, a collective class should be certified in the Action. This
Agreement is entered into solely for the purpose of compromising highly disputed claims. Nothing
in this Agreement is intended or will be construed as an admission of liability or wrongdoing by
Defendants or an admission that collective action certification is proper.


       20.     CONSTRUCTION
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                The Parties agree that the terms and conditions of this Agreement are the result of
arms-length negotiations between the Parties and that this Agreement shall not be construed in
favor of or against any party by reason of the extent to which any party or its counsel participated
in the drafting of this Agreement.

       21.     NOTICES

             Unless otherwise specifically provided herein, all notices, demands, or other
communications given hereunder shall be in writing as follows:

                   To Plaintiffs:
                   Peter A. Saba
                   Joshua M. Smith
                   Stagnaro, Saba & Patterson Co., LPA
                   2623 Erie Avenue
                   Cincinnati, Ohio 45202

                   To Defendant:

                   David K. Montgomery

                   Ryan M. Martin
                   Jackson Lewis P.C.
                   PNC Center
                   201 E. Fifth Street, 26th Floor
                   Cincinnati, Ohio 45202

       22.     EXECUTION IN COUNTERPARTS

                This Agreement may be executed in counterparts, and when each party has signed
and delivered at least one such counterpart, each counterpart shall be deemed an original, and,
when taken together with other signed counterparts, shall constitute one Agreement which shall
be binding upon and effective as to all Parties. Photocopies, scanned copies, and facsimiles shall
be as effective as originals, including the Parties’ signatures.

                        SIGNATURES APPEAR ON FOLLOWING PAGE




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THE KROGER CO.


            Signature: ______________________________________________


            Printed name: ___________________________________________


            Title: _________________________________________________


            Dated: ________________________________________________


KROGER G.O. LLC


            Signature: ______________________________________________


            Printed name: ___________________________________________


            Title: _________________________________________________


            Dated: ________________________________________________


REPRESENTATIVE PLAINTIFF


            Signature: ______________________________________________


            Printed name: ___________________________________________


            Dated: ________________________________________________


REPRESENTATIVE PLAINTIFF


            Signature: ______________________________________________


            Printed name: ___________________________________________
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            Dated: ________________________________________________


REPRESENTATIVE PLAINTIFF


            Signature: ______________________________________________


            Printed name: ___________________________________________


            Dated: ________________________________________________




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      Exhibit A

                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

 JOSEPH HARDESTY, ET AL.                           *   Case No. 1:16-CV-00298
                                                   *
             Plaintiffs,                           *   Judge Matthew W. McFarland
                                                   *
 v.                                                *
                                                   *
 THE KROGER CO., ET AL.,                           *
                                                   *
             Defendants.                           *
                                                   *

           NOTICE OF SETTLEMENT OF COLLECTIVE ACTION LAWSUIT


       Representative Plaintiffs Joseph Hardesty, Madeline Hickey, and Derek Chipman

 (“Representative Plaintiffs”), and Defendants The Kroger Co. and Kroger G.O. LLC

 (“Defendant” or “Kroger”) reached an agreement to settle the above-captioned case (the

 “Lawsuit”). That Agreement and this Notice have been approved by the Court. This Notice

 provides you with information about the settlement and instructions for recovering your

 settlement payment.

 I.     DESCRIPTION OF THE LAWSUIT

       On February 9, 2016, Representative Plaintiffs filed this lawsuit against Kroger on behalf

 of themselves and other current and former recruiters employed at the Center of Recruiting

 Excellence (“CoRE”) alleging overtime violations under the Fair Labor Standards Act (“FLSA”)

 and applicable state law. Representative Plaintiffs alleged that Kroger violated the FLSA by

 misclassifying them as exempt from applicable overtime laws.



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        On July 19, 2016, the Court issued an order conditionally certifying this case as a collective

 action and authorizing the distribution of the notice of the Lawsuit to potentially eligible

 individuals. You returned a form consenting to join this Lawsuit as an “Opt-In Plaintiff.”

 II.     SETTLEMENT OF THE LAWSUIT

        The Parties settled the Lawsuit on or around March 11, 2022. The Court has approved the

 settlement. Enclosed with this Notice is your settlement payment in the amount of [INSERT


 -                                                                                          -
 AMOUNT]. One half of your settlement payment will be reported as wages for tax purposes, and

 you will receive an IRS Form W-2. Standard tax withholdings for wage payments will be deducted

 from this installment. The other half of your settlement payment will be reported on an IRS Form

 1099. You will have 120 days from the date each check is issued to cash your settlement

 check, or it will be void.

 III.    ATTORNEYS’ FEES AND COSTS

        The Court has approved Plaintiffs’ Counsel’s attorneys’ fees in the amount of

 The Court has also approved Plaintiffs’ Counsel’s request for payment of costs incurred to litigate

 the case from the total settlement amount.

 IV      SCOPE OF RELEASE

        By cashing your settlement check, you agree to forever and fully release The Kroger Co.,

 Kroger G.O. LLC, and their present and former owners, partners, stockholders, predecessors,

 successors, assigns, agents, directors, officers, employees, representatives, attorneys, parents,

 divisions, subsidiaries, affiliates, benefits plans, plan fiduciaries, and/or administrators, and all

 persons acting by, through, under or in concert with any of them, including any party that was or

 could have been named as a defendant in the Action (collectively, the Released Parties), from all

 claims that are based upon, or arise out of the facts, acts, transactions, occurrences, events, or

 omissions alleged in the Lawsuit, including, but not limited to, wage and hour claims, rights,
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 demands, liabilities and causes of action that were asserted or could have been asserted in the

 Lawsuit, under federal, state, local, or other applicable wage and hour laws by and on behalf of

 the collective class in the Lawsuit (the Released Claims), through [the date of the Approval


 -
 Order]. The Released Claims include all claims under and federal, state, and/or local wage and

 hour laws, including, without limitation, the FLSA, the Ohio Minimum Fair Wage Standards

 Act, and the Ohio Prompt Pay Act, whether known or unknown, asserted or unasserted, of any

 kind whatsoever for unpaid overtime or minimum wages, unpaid costs, penalties, liquidated

 damages, and punitive damages. This release does not include separate FLSA collective action

 claims in Schell et al. v. The Kroger Company, Case No. 1:21-cv-00103, for which any Plaintiff

 is or may be a class member

 V.      CONFIDENTIALITY OF SETTLEMENT

        Please be advised that this settlement is confidential. Please do not discuss this

settlement with anyone other than your spouse, tax advisor(s), or attorney(s).

 VI.     NO RETALIATION OR ADVERSE ACTION

        Kroger will not take any adverse action against any individual because he or she

 participates in the settlement.

 VII.   QUESTIONS ABOUT THE SETTLEMENT

        Questions about the settlement should be directed to:


                    Peter A. Saba
                    Joshua M. Smith
                    Stagnaro, Saba & Patterson Co., LPA
                    2623 Erie Avenue
                    Cincinnati, Ohio 45202
                    (513) 533-6715
                    jms@sspfirm.com




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        Exhibit B

Exhibit B to Joint Stipulation of Settlement and Release Collective Class Members



             NAME

   1.        Bradley, Christian
   2.        Burchett, Kimberly
   3.        Chipman, Derek
   4.        Conroy, Jessica
   5.        Cooper, Alexandra
   6.        Cress, Jacob
   7.        Elkins-Shumann, Sara
   8.        Flint, Curtis
   9.        Furr, Rhonda
   10.       Gayhart, Amanda
   11.       Hadden, Jeremy
   12.       Hardesty, Joseph
   13.       Haskins, Lawanna
   14.       Hickey, Madeline
   15.       Hom, Corbin
   16.       Johnson, Jalen
   17.       Kovatch, Michael
   18.       LaCour, Marcus
   19.       Lewis, Wahid
   20.       Martin, Dominic
   21.       Matibiri, Tinashe
   22.       McIntire, Craig


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    23.         Moore, Latasha
    24.         Rutledge, Kelly
    25.         Taske, Matthew
    26.         Ward, Marye
    27.         West, Rondalyn

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Amanda Gayhart w/2015 Merit         $
CbrislimBradley                     $
GrisMabbui                          $
Gris Mabbui w/ 2015 Merit           $
CoibinHom                           $
Crai M                              $
              w/ 2015Merit          $                 8/112015
                                    $                 7/612015
                                    $                   312015
          pman w/ 2015 Merit        $                 8/112015
Dommic Martin                       $                 /10/2014
Jacob ens,                          $                 120/2015 7/31/2016
Jacob ens, w/ 2016 Merit            $                 8/1120~ 9/2016
Jalom Jolmson - -                   $                   112016 7/31/2016
            nw/ 22.!_6~erit         $                          12/1/201_6 _ _
                                    $
              y                     $
              yw/2015Meit           $
                w/ 2016Meit         $
                                    $
                  w/ 2015Merit      $
                                    $
                 w/ 2015 Merit      $                 8/112015    7/31/2016     52
Kelly R.ufledg,, w/ 2016 Merit      $                 8/112016    12/1/2016     17
Kimberl Burchett                    $                11/312014    3126/2015     20
Lmsha Moore                         $                2/2312015    7/3112015     23
Lmsha Moore w/ 2015 Meit            $                 8/112015    7/31/2016     52
Lmsha Moon w/ 2016 Meil             $                 8/112016    12/1/2016     17
l.aw=Haslw,sl                       $                2/2312015    6130/2015     18
             slw,s2                 $              9 /19/2016     12/1/2016-    10
                                 - -$
                  y                                 10/3112014     4/112015     22
                                $                    2/2312015    7/3112015     23
                                                      8/1/201_5_ _7/31~
          C.Ourwf2015Merit      $                                               52
          Cour wf 2016 Merit    $                    8/1/2016      12/1/2016    17
         ard                    $                   2/2312015      7/31/2015    23


         .
         ard w/ 2015 Merit      $                     8/1/2015     7/31/2016    52
         ard w/ 2016 Merit      $                     8/112016     12/1/2016    17
   II                           $                   2/2312015      7/3112015    23
Matt Taskew/ 2015 Merit         $                     8/112015     7/3112016    52
Matt Taske w/ 2016 Merit        $                     8/1/2016     12/1/2016    17
Michael Kovatch                 $                   2/23/2015      7/31/2015    23
Mkhael Kovatcl, w/2015 Merit    $                     8/112015      3/5/2016    31
Rhonda Fun                      $                   2/2312015      7/31/2015    23
Rhoad., Funw/ 2015 Merit        $                     8/1/2015     7/31/2016    52
Rhoad., Funw/ 2016 Merit        $                     8/112016     12/1/2016    17
                             - -$                  9 /14120r r -   7/31/2016
ll...w West                                                                     46
llondalyuWest w/ 2016 Merit     $                     8/1/2016     12/1/2016    17
San Ellcim-Sch=                 $                   11/312014      3il312015    19
Wahid Lewis                     $                  3 /16/2015      7/31/2015    20
Wahid lewis w/ 2015 Merit       $                     8/112015     7/31/2016    52
Wahid Lewis w/ 2016 Merit       $                     8/112016     12/112016    17
      Exhibit C
